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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JENA MCCLELLAN,                               )
                           Plaintiff,         )
                                              )      No. 1:16-cv-1308
-v-                                           )
                                              )      Honorable Paul L. Maloney
MIDWEST MACHINING, INC.,                      )
                      Defendant.              )
                                              )

                                        JUDGMENT

      In accordance with the opinion entered today (ECF No. 83), and pursuant to Fed. R.

Civ. P. 58, JUDGMENT hereby enters.

THIS ACTION IS TERMINATED.

      IT IS SO ORDERED.

Date: September 25, 2020                             /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge
